     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 1 of 9 PageID #:90



                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

JENNIFER MITCHELL, mother and                 )
next friend of SHIANNE MITCHELL,              )
a minor, and JENNIFER MITCHELL,               )
individually,                                 )
                                              )
       Plaintiffs,                            )
                                              )
               vs.                            )       No. 09-CV-50167
                                              )
BARRY BARNES, M.D., FREEPORT                  )
MEMORIAL HOSPITAL, a corporation,             )
and FREEPORT REGIONAL HEALTH                  )
CARE FOUNDATION, a corporation,               )
                                              )
       Defendants.                            )

                                   AMENDED COMPLAINT

                     COUNT I – BARRY BARNES, M.D - NEGLIGENCE

       NOW COME the Plaintiffs, JENNIFER MITCHELL, mother and next friend of

SHIANNE MITCHELL, and JENNIFER MITCHELL, individually, by their attorneys, CLARK,

JUSTEN, ZUCCHI & FROST, LTD., and for their complaint against the Defendant, BARRY

BARNES, M.D., state as follows:

       1.      This Court has jurisdiction of this matter based on diversity of citizenship as

contained in 28 USC, § 1332, in that the Plaintiffs, JENNIFER MITCHELL, mother and next

friend of SHIANNE MITCHELL, a minor, and JENNIFER MITCHELL, individually, are

residents and citizens of Delavan, County of Walworth, State of Wisconsin, and the Defendant,

BARRY BARNES, M.D., is a resident and citizen of and practices medicine as a general

surgeon in Freeport, Stephenson County, Illinois.




                                                  1
     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 2 of 9 PageID #:91



        2.       The matter of controversy herein exceeds, exclusive of interest and costs, the sum

of $75,000.00.

        3.       That on or about October 18, 2007, JENNIFER MITCHELL, took SHIANNE

MITCHELL, a minor, to Dr. Greg Harmston, at FHN Family Healthcare Services in Mt. Carroll,

Illinois, for a painful lump in her right breast.

        4.       That on or about October 31, 2007, Dr. Greg Harmston of FHN Family

Healthcare Services, Mt. Carroll, Illinois, referred SHIANNE MITCHELL to BARRY

BARNES, M.D., a general surgeon at FHN Family Healthcare Services in Freeport, Illinois.

        5.       That on or about November 9, 2007, BARRY BARNES, M.D., performed a

surgical excision of a subareolar mass in the left breast of SHIANNE MITCHELL.

        6.       That at all times relevant hereto, BARRY BARNES, M.D., had the duty to

possess and apply the knowledge and use the skill ordinarily used by reasonably well-qualified

general surgeons in the same or similar circumstances.

        7.       That BARRY BARNES, M.D. was then and there negligent in one or more of the

following ways:

        A.    Did not perform any diagnostic studies such as an ultrasound of the mass in
        Shianne Mitchell’s right breast before performing surgery to remove it;
        B.     Did not perform a needle biopsy of the mass in Shianne Mitchell’s right breast
        before performing surgery to remove it.
        C.      Did not make a differential diagnosis that Shianne could have been a Tanner II
        prior to performing surgery. His first diagnosis should have been breast bud.
        D.       Performed an unnecessary major amputation of Shianne’s right breast bud.
        E.       Should have known that breast cancer in children is extremely rare and not moved
        to that conclusion without proper diagnostic testing.
        F.      Should not have undertaken the care of Shianne when there are high level care
        centers in the area to which he could have referred her.



                                                    2
     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 3 of 9 PageID #:92



       8.      That as a direct and proximate result of the aforesaid negligence of the Defendant,

BARRY BARNES, M.D., SHIANNE MITCHELL, a minor sustained severe and permanent

bodily injuries, both internally and externally, suffered pain in the past and will continue to

suffer pain in the future, has been scarred and disfigured and will be further scarred and

disfigured in the future, has sustained loss of her normal life, and will require reconstructive

surgical procedures in the future. Further, the Plaintiffs have become liable for large sums of

money for medical and surgical expenses and will become liable for large sums of money for

future medical and surgical expenses.


       WHEREFORE, the Plaintiffs, JENNIFER MITCHELL, mother and next friend of

SHIANNE MITCHELL, and JENNIFER MITCHELL, individually, pray for judgment against

the Defendant, BARRY BARNES, M.D., in a sum in excess of $75,000.00, plus costs of suit.


                      COUNT II – FREEPORT MEMORIAL HOSPITAL,
                               a corporation –NEGLIGENCE

       NOW COME the Plaintiffs, JENNIFER MITCHELL, mother and next friend of

SHIANNE MITCHELL, and JENNIFER MITCHELL, individually, by her attorneys, CLARK,

JUSTEN, ZUCCHI & FROST, LTD., and for their complaint against the Defendant,

FREEPORT MEMORIAL HOSPITAL, a corporation, state as follows:


       1.      This Court has jurisdiction of this matter based on diversity of citizenship as

contained in 28 USC, § 1332, in that the Plaintiffs, JENNIFER MITCHELL, mother and next

friend of SHIANNE MITCHELL, a minor, and JENNIFER MITCHELL, individually, are

residents and citizens of Delavan, Walworth County, State of Wisconsin, and the Defendant,

FREEPORT MEMORIAL HOSPITAL, a corporation, are residents and citizens of and doing

business in and around Freeport, Stephenson County, Illinois, providing health care, surgical

                                                  3
     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 4 of 9 PageID #:93



services and hospital services to patients from their various service addresses in and around

Freeport, Stephenson County, Illinois, including the FHN Family Healthcare Center, Freeport,

Illinois, FHN Family Healthcare Center, Mt. Carroll, Illinois, and Freeport Memorial Hospital,

Freeport, Illinois.


        2.       The matter of controversy herein exceeds, exclusive of interest and costs, the sum

of $75,000.00.

        3.       That at all times pertinent hereto, Defendant, BARRY BARNES, M.D., was an

employee, agent or apparent agent of the Defendant, FREEPORT MEMORIAL HOSPITAL, a

corporation.

        4.       That on or about October 18, 2007, JENNIFER MITCHELL, took SHIANNE

MITCHELL, a minor, to Dr. Greg Harmston, at FHN Family Healthcare Center, in Mt. Carroll,

Illinois, for a painful lump in her right breast.

        5.       That on or about October 31, 2007, Dr. Greg Harmston of FHN FAMILY

HEALTHCARE SERVICES, Mt. Carroll, Illinois, referred SHIANNE MITCHELL to BARRY

BARNES, M.D., of FHN Family Healthcare Services, Freeport, Illinois, a general surgeon

employed by and/or an agent or apparent agent of FREEPORT MEMORIAL HOSPITAL, a

corporation.

        6.       That on or about November 9, 2007, BARRY BARNES, M.D., performed a

surgical excision of a subareolar mass in the left breast of SHIANNE MITCHELL.

        7.       That at all times relevant hereto, the Defendant, FREEPORT MEMORIAL

HOSPITAL, a corporation. by and through its agents and employees, had the duty to possess

and apply the knowledge and use the skill ordinarily used by reasonably well-qualified

healthcare providers in the same or similar circumstances.


                                                    4
     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 5 of 9 PageID #:94




       8.      That Defendant, FREEPORT MEMORIAL HOSPITAL, a corporation, by and

through its employee, agent or apparent agent, BARRY BARNES, M.D., was then and there

negligent in one or more of the following ways:

       A.    Did not perform any diagnostic studies such as an ultrasound of the mass in
       Shianne Mitchell’s right breast before performing surgery to remove it;
       B.     Did not perform a needle biopsy of the mass in Shianne Mitchell’s right breast
       before performing surgery to remove it.
       C.      Did not make a differential diagnosis that Shianne could have been a Tanner II
       prior to performing surgery. His first diagnosis should have been breast bud.
       D.      Performed an unnecessary major amputation of Shianne’s right breast bud.
       E.       Should have known that breast cancer in children is extremely rare and not moved
       to that conclusion without proper diagnostic testing.
       F.      Should not have undertaken the care of Shianne when there are high level care
       centers in the area to which he could have referred her.
       9.      That as a direct and proximate result of the aforesaid negligence of the Defendant,

FREEPORT MEMORIAL HOSPITAL, a corporation, by and through its employee, agent or

apparent agent, BARRY BARNES, M.D., SHIANNE MITCHELL, a minor, a minor sustained

severe and permanent bodily injuries, both internally and externally, suffered pain in the past

and will continue to suffer pain in the future, has been scarred and disfigured and will be further

scarred and disfigured in the future, has sustained loss of her normal life, and will require

reconstructive surgical procedures in the future. The Plaintiffs have become liable for large

sums of money for medical and surgical expenses and will become liable for large sums of

money for future medical and surgical expenses.


       WHEREFORE, the Plaintiffs, JENNIFER MITCHELL, mother and next friend of

SHIANNE MITCHELL, and JENNIFER MITCHELL, individually, pray for judgment against



                                                  5
     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 6 of 9 PageID #:95



the Defendant, FREEPORT MEMORIAL HOSPITAL, a corporation, in a sum in excess of

$75,000.00, plus costs of suit.


            COUNT III – FREEPORT REGIONAL HEALTH CARE FOUNDATION,
                             a corporation - NEGLIGENCE

       NOW COME the Plaintiffs, JENNIFER MITCHELL, mother and next friend of

SHIANNE MITCHELL, and JENNIFER MITCHELL, individually, by her attorneys, CLARK,

JUSTEN, ZUCCHI & FROST, LTD., and for their complaint against the Defendant,

FREEPORT REGIONAL HEALTH CARE FOUNDATION, a corporation, state as follows:

       1.        This Court has jurisdiction of this matter based on diversity of citizenship as

contained in 28 USC, § 1332, in that the Plaintiffs, JENNIFER MITCHELL, mother and next

friend of SHIANNE MITCHELL, a minor, and JENNIFER MITCHELL, individually, are

residents and citizens of Delavan, Walworth County, State of Wisconsin, and the Defendant,

FREEPORT REGIONAL HEALTH CARE FOUNDATION, a corporation, is a resident and

citizen of and doing business in and around Freeport, Stephenson County, Illinois, providing

health care, surgical services and hospital services to patients from their various service

addresses in and around Freeport, Stephenson County, Illinois, including the FHN Family

Healthcare Center, Freeport, Illinois, FHN Family Healthcare Center, Mt. Carroll, Illinois, and

Freeport Memorial Hospital, Freeport, Illinois.


       2.        The matter of controversy herein exceeds, exclusive of interest and costs, the sum

of $75,000.00.

       3.        That at all times pertinent hereto, Defendant, BARRY BARNES, M.D., was an

employee, agent or apparent agent of the Defendant, FREEPORT REGIONAL HEALTH CARE

FOUNDATION, a corporation.


                                                   6
     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 7 of 9 PageID #:96



        4.      That on or about October 18, 2007, JENNIFER MITCHELL, took SHIANNE

MITCHELL, a minor, to Dr. Greg Harmston, at FHN Family Healthcare Center, in Mt. Carroll,

Illinois, for a painful lump in her right breast.

        5.      That on or about October 31, 2007, Dr. Greg Harmston of FHN Family

Healthcare Services in Mt. Carroll, Illinois, referred SHIANNE MITCHELL to BARRY

BARNES, M.D., of FHN Family Healthcare Services, Freeport, Illinois, a general surgeon

employed by and/or the agent or apparent agent of FREEPORT REGIONAL HEALTH CARE

FOUNDATION, a corporation.

        6.      That on or about November 9, 2007, BARRY BARNES, M.D., performed a

surgical excision of a subareolar mass in the left breast of SHIANNE MITCHELL.

        7.      That at all times relevant hereto, the Defendant, FREEPORT REGIONAL

HEALTH CARE FOUNDATION, a corporation, by and through its agents and employees had

the duty to possess and apply the knowledge and use the skill ordinarily used by reasonably well-

qualified healthcare providers in the same or similar circumstances.

        8.      That Defendant, FREEPORT REGIONAL HEALTH CARE FOUNDATION, a

corporation, by and through its employee, agent or apparent agent, BARRY BARNES, M.D.,

was then and there negligent in one or more of the following ways:

        A.    Did not perform any diagnostic studies such as an ultrasound of the mass in
        Shianne Mitchell’s right breast before performing surgery to remove it;
        B.     Did not perform a needle biopsy of the mass in Shianne Mitchell’s right breast
        before performing surgery to remove it.
        C.      Did not make a differential diagnosis that Shianne could have been a Tanner II
        prior to performing surgery. His first diagnosis should have been breast bud.
        D.      Performed an unnecessary major amputation of Shianne’s right breast bud.
        E.       Should have known that breast cancer in children is extremely rare and not moved
        to that conclusion without proper diagnostic testing.


                                                    7
     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 8 of 9 PageID #:97



       F.      Should not have undertaken the care of Shianne when there are high level care
       centers in the area to which he could have referred her.
       9.      That as a direct and proximate result of the aforesaid negligence of the Defendant,

FREEPORT REGIONAL HEALTH CARE FOUNDATION, a corporation, by and through its

employee, agent or apparent agent, BARRY BARNES, M.D., SHIANNE MITCHELL, a minor,

a minor sustained severe and permanent bodily injuries, both internally and externally, suffered

pain in the past and will continue to suffer pain in the future, has been scarred and disfigured and

will be further scarred and disfigured in the future, has sustained loss of her normal life, and will

require reconstructive surgical procedures in the future. The Plaintiffs have become liable for

large sums of money for medical and surgical expenses and will become liable for large sums of

money for future medical and surgical expenses.


       WHEREFORE, the Plaintiffs, JENNIFER MITCHELL, mother and next friend of

SHIANNE MITCHELL, and JENNIFER MITCHELL, individually, pray for judgment against

the Defendant, FREEPORT REGIONAL HEALTH CARE FOUNDATION, a corporation, in a

sum in excess of $75,000.00, plus costs of suit.


                                               JENNIFER MITCHELL, mother and next friend
                                               of SHIANNE MITCHELL, a minor, and
                                               JENNIFER MITCHELL, individually,

                                               BY CLARK, JUSTEN, ZUCCHI & FROST, LTD.

                                                       /s/Kevin P. Justen

                                               BY_____________________________________
                                                    KEVIN P. JUSTEN
Kevin P. Justen
CLARK, JUSTEN, ZUCCHI & FROST, LTD.
7320 N. Alpine Rd.
Rockford, IL 61111
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                                                   8
     Case: 3:09-cv-50167 Document #: 28 Filed: 11/04/09 Page 9 of 9 PageID #:98




STATE OF ILLINOIS                    )
                                     ) SS.
COUNTY OF WINNEBAGO                  )

                                     PROOF OF SERVICE


  The undersigned hereby certifies that a copy of the foregoing was served upon:

Attorney Lisa Munch
Attorney Jennifer Johnson
Hinshaw & Culbertson
P.O. Box1389
Rockford, IL 61105

the attorney(s) of record to the above cause, by enclosing same in an envelope addressed to such
attorney(s) at his business address as set forth above, with postage fully prepaid and by
depositing said envelope(s) in the U.S. Mail at Rockford, Illinois, at or about the hour of 5:00
P.M. on the 4th        day of November , 2009.

                                                    /s/Jean Apgar


Subscribed and sworn to before me

this 4th day of November, 2009.

/s/Susan K. Lenz

Notary Public




                                               9
